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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA


 HAROLD NELSON,                                     Case No.:
               Plaintiff,
        vs.
 MEDICREDIT, INC.,
               Defendant.



                             COMPLAINT AND JURY DEMAND

        Plaintiff, Harold Nelson, on behalf of himself (“Plaintiff”), by and through undersigned

 counsel, hereby sues Defendant, Medicredit, Inc. (“Defendant”), and alleges as follows:

                                PRELIMINARY STATEMENT


 1.     This is an action for damages arising from Defendant’s violations of 15 U.S.C. §1692 et.

 seq., the Fair Debt Collection Practices Act (“FDCPA”), which prohibits debt collectors from

 engaging in abusive, deceptive and unfair practices and 47 U.S.C. §227, et seq., the Telephone

 Consumer Protection Act (hereinafter “TCPA”), which regulates certain forms of

 communications.

                                JURISDICTION AND VENUE


 2.     This Court has jurisdiction over this action pursuant to 28 USC §1331 and 15 U.S.C.

 §1692k (d).

 3.     Venue is proper in this district under 28 U.S.C. §1391(b).




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                                             PARTIES


 4.     Plaintiff is a natural person, who at all relevant times resided in the in the city of Port St.

 Lucie, St. Lucie County, state of Florida, and is a “consumer” as defined by 15 U.S.C.

 §1692a(3).

 5.     Defendant is a corporation doing business in the State of Florida, with its corporate

 mailing address as 3 City place Dr., STE 690, Saint Louis, MO 63141, and is a “debt collector”

 within the meaning of the FDCPA as they use the mail in operating a business that regularly

 collects and attempts to collect consumer debts owed or due to another 15 U.S.C. §1692a(6).

                                    FACTUAL STATEMENT


 6.     At all times relevant to this litigation, Defendant has engaged in a course of collection

 attempts aimed at the collection of a consumer debt. The debt upon which Defendant sought

 collection allegedly originated with St. Lucie Medical Center, and accrued for medical services

 rendered (“Subject Debt”).

 7.     Medical debt has long been held to be consumer “debt,” as that term is defined by 15

 U.S.C. §1692a(5).

 8.     Upon information and belief, and no more than (30) days prior to April 27, 2017,

 Defendant sent Plaintiff an initial written communication regarding the Subject Debt. Plaintiff

 responded to the initial communication by sending a written dispute dated April 27, 2017. In the

 written dispute Plaintiff demanded that all communications on the Subject Debt, or any other

 debts held by Defendant presently or in the future, be done through writing.

 9.     On or about May 4, 2017, Defendant placed a telephone call to Plaintiff in furtherance of

 the collection of the Subject Debt. The telephone call was placed utilizing an automated dialer

 system, and was placed to Plaintiff’s cellular device.

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 10.    Via written correspondence dated May 8, 2017, Defendant sent Plaintiff information on

 the Subject Debt.

 11.    As of the date of this filing, and at all times relevant, Plaintiff maintains his position that

 the Subject Debt is one in dispute.

                                  COUNT I
          VIOLATION OF THE FAIR DEBT COLLECTIONS PRACTICES ACT
                            15 U.S.C. §1692, et seq.

 12.    Plaintiff repeats and realleges the allegations contained in paragraphs (1) through (10)

 above and incorporates them as if set forth specifically herein.

 13.     Upon information and belief, and no more than (30) days prior to April 27, 2017,

 Defendant sent Plaintiff an initial written communication regarding the Subject Debt. Plaintiff

 responded to the initial communication by sending a written dispute dated April 27, 2017. In the

 written dispute Plaintiff demanded that all communications on the Subject Debt, or any other

 debts held by Defendant presently or in the future, be done through writing.

 14.    On or about May 4, 2017, Defendant placed a telephone call to Plaintiff in furtherance of

 the collection of the Subject Debt. The telephone call was placed utilizing an automated dialer

 system, and was placed to Plaintiff’s cellular device.

 15.    Via written correspondence dated May 8, 2017, Defendant sent Plaintiff information on

 the Subject Debt.

 16.    By virtue of Defendant’s telephonic communication on May 4, 2017, Defendant has

 violated 15 U.S.C. §1692c(c), wherein it is a violation of the FDCPA to communicate if a

 consumer notifies a debt collector in writing that the consumer refuses to pay a debt or that the

 consumer wishes the debt collector to cease further communication with the consumer, the debt

 collector shall not communicate further with the consumer with respect to such debt.



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 17.     By virtue of Defendant’s telephonic communication of May 4, 2017, Defendant has

 violated 15 U.S.C. §1692g(b), wherein it is a violation of the FDCPA to continue collection

 attempts when faced with a properly communicated dispute under 15 U.S.C. §1692g(4) without

 first validating the debt.

 18.     Plaintiff has been damaged and is entitled to relief.

         WHEREFORE, Plaintiff, Harold Nelson, requests that this Court enter judgment against

 Defendant, and on behalf of Plaintiff as follows:

             A. Declaring Defendant’s actions, as described above, in violation of the FDCPA;

             B. Granting Plaintiff actual damages pursuant to 15 U.S.C. §1692k(a)(1);

             C. Granting Plaintiff statutory damages pursuant to 15 U.S.C. §1692k(a)(2)(A);

             D. Granting Plaintiff an award for costs and reasonable attorneys’ fees pursuant to 15

                 U.S.C. §1692k(a)(3);

             E. Granting such other and further relief as may be just and proper.

                                  COUNT II
          VIOLATION OF THE TELEPHONE CONSUMER PROTECTION ACT
                             47 U.S.C. §227, et seq.

 19.     Plaintiff repeats and realleges the allegations contained in paragraphs (1) through (10)

 above and incorporates them as if set forth specifically herein.

 20.     Plaintiff sent Defendant written correspondence dated April 27, 2017, in which he

 requested that all communications be in writing.

 21.     On May 4, 2017, Defendant placed a telephone call to Plaintiff’s cellular device. The

 telephone call was placed utilizing an automated dialer system. At the time the call was placed,

 consent to place calls utilizing an automated dialer system, or those containing prerecorded

 messages, had been withdrawn.



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 22.    Plaintiff has been damaged and is entitled to relief.

        WHEREFORE, Plaintiff, Harold Nelson, requests that this Court enter judgment against

 Defendant, and on behalf of Plaintiff as follows:


            A. Declaring Defendant’s actions to be violations and/or willful violations of The

                Telephone Consumer Protection Act, 47 U.S.C. §227, et seq;

            B. Entering judgment in favor of Plaintiff against Defendant for actual damages,

                statutory damages, costs and fees under the Telephone Consumer Protection Act,

                47 U.S.C. §227, et seq;

            C. Declaring Defendant’s actions to be violations and/or willful violations of the

                Telephone Consumer Protection Act, 47 U.S.C. §227, et seq;

            D. Granting such other and further relief as may be just and proper.


                                     JURY TRIAL DEMAND

                      Plaintiff demands a trial by jury on all issues so triable.



   Dated: September 27, 2017

                                                       Respectfully Submitted,

                                                       s/ Marta R. Golani
                                                       Marta R. Golani, Esq.
                                                       Marta Golani, P.A.
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                                                       Attorney for Plaintiff Harold Nelson




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